      Case 3:10-cr-03537-DMS                  Document 89           Filed 10/16/13          PageID.234         Page 1 of 2

AO 245B (CASDRev. 08/13) Judgment in a Criminal Case for Revocations


                                    UNITED STATES DISTRICT COUR~,
                                          SOUTHERN DISTRICT OF CALIFORNIf-J                       (}S~~ Pii 2: 43
             UNITED STATES OF AMERICA                                JUDGMENT IN A CR)MINAL (1A~",~!
                                                                     (For Revocation ofProbation;Of Supervised Release)
                                                                     (For Offenses Committed On or After November 1, 1987)
                               V.
            DOMINGO SALAZAR-SAUCEDA                                                                     DMS        o£PU1'<
                                                                        Case Number:                 ------
                                                                                            IOCR3537-DSM

                                                                     James M Chavez FD
                                                                     Defendant's Attorney
REGISTRATION NO.                20711298
0­
~    admitted guilt to violation of allegation(s) No.      2
                                                          -----------------------------------------------­
o was found guilty in violation ofallegation(s) No.                                                   after denial of guilty.

Accordingly, the court has adjudicated that the defendant is guilty of the following allegation(s):

Allegation Number                 Nature of Violation
            2                     Committed a federal, state, or local offense




     Supervised Release is revoked and the defendant is sentenced as provided in page 2 through 4 of this judgment.
The sentence is imposed pursuant to the Sentencing Reform Act of 1984.
        IT IS ORDERED that the defendant shall notifY the United States attorney for this district within 30 days of any
change of name, residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this
judgment are fully paid. If ordered to pay restitution, the defendant shall notifY the court and United States attorney of any
material change in the defendant's economic circumstances.

                                                                     October 16.2013



                                                                     HaN. ~sabraw
                                                                     UNITED STATES DISTRICT JUDGE




                                                                                                                             DMS
                                                                                                                            -------
                                                                                                                   lOCR3537-DSM
      Case 3:10-cr-03537-DMS            Document 89        Filed 10/16/13      PageID.235        Page 2 of 2

AO 245B (CASD Rev. 08/l3) Judgment in a Criminal Case for Revocations

DEFENDANT:               DOMINGO SALAZAR· SAUCEDA                                               Judgment· Page 2 of2
CASE NUMBER:                     -------DMS
                         10CR3537·DSM

                                               IMPRISONMENT
The defendant is hereby committed to the custody ofthe United States Bureau of Prisons to be imprisoned for a term of:
EIGHT (8) MONTHS consecutive to sentence in Superior Court of California, County of Imperial, Case No. JCF-29350.




D     Sentence imposed pursuant to Title 8 USC Section 1326(b).
D     The court makes the following recommendations to the Bureau of Prisons:




D     The defendant is remanded to the custody of the United States Marshal.

D     The defendant shall surrender to the United States Marshal for this district:
           at                         A.M.                  on
           ------------------
      D as notified by the United States Marshal.
                                                                 --------------------------------------
      The defendant shall surrender for service of sentence at the institution designated by the Bureau of
D
      Prisons:
      D     on or before
      o     as notified by the United States Marshal.
      o     as notified by the Probation or Pretrial Services Office.

                                                     RETURN

I have executed this judgment as follows:


                               --------------------------- to --------------------------------
      Defendant delivered on


at _______________ , with a certified copy of this judgment.


                                                                                    MARSHAL



                                   By                                                    MARSHAL



                                                                                                               DMS
                                                                                                              -------
                                                                                                     lOCR3537-DSM
